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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

THADDEUS COSBY,
Plaintiff,

Vv. Civil Action No. 3:20cv494

TOWN OF FARMVILLE,
et al.,

Defendants.

MEMORANDUM OPINION
This matter is before the Court on the MOTION TO DISMISS (ECF
No. 9) filed by the defendants, Town of Farmville, the Farmville
Police Department, H.A. Hoyle, Jr., and Stewart Godsey. Officers
Hoyle and Godsey are employed by the Farmville Police Department.1}
In his blunderbuss Complaint (ECF No. 1), Thaddeus Cosby identified
ten defendants and eleven unknown officers in sixteen counts.? By

ORDER entered on March 9, 2021 (ECF No. 25), and for reasons set

 

1 By ORDER entered on March 9, 2021 (ECF No. 25), the Court denied
PLAINTIFF’S MOTION TO EXTEND TIME FOR SERVICE OF COMPLAINT (ECF
No. 15) and PLAINTIFF’S MOTION TO EXTEND TIME TO FILE HIS RESPONSE
TO MOTION TO DISMISS FILED BY DEFENDANTS TOWN OF FARMVILLE,
FARMVILLE POLICE DEPARTMENT, H.A. HOYLE, JR., AND STEWART GODSEY
(ECF No. 17). Cosby, acting pro se, appealed that ORDER. The

appeal does not affect the Court’s jurisdiction to entertain this
motion (ECF No. 9).

? The Complaint reflects a rather startling lack of appreciation
for the legal concepts which it purports to invoke.
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forth in an accompanying MEMORANDUM OPINION (ECF No. 24), this
action was dismissed without prejudice as to the Estate of Timothy
M. Bourne; Wade Stimson, Individually and in his Official Capacity
as Captain of the Farmville Police Department; Office of the
Commonwealth’s Attorney for Prince Edward County, Virginia; Morgan
Greer, Individually and in his Official Capacity as Assistant
Commonwealth’s Attorney for Prince Edward County, Virginia; J.
David Emert; and Unknown Officers 1-11. By ORDER entered October
22, 2020 (ECF No. 11), the defendant, Prince Edward County,
Virginia, was dismissed with prejudice as a defendant in this
action.

Consequently, the only defendants remaining in the case are
the Town of Farmville, Virginia, the Farmville Police Department,
Officer Hoyle, and Officer Godsey. Both officers are sued in
their capacities as individuals and their official capacities as
officers in the Farmville Police Department. It is these
remaining defendants who now seek dismissal of claims against them
pursuant to Fed. R. Civ. P. 12(b)(6). For the reasons set forth

below, the MOTION TO DISMISS (ECF No. 9) will be granted.
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BACKGROUND?

On October 24, 2012, Cosby was arrested for a third driving-
under-the-influence offense and for driving on a revoked license.
(ECF No. 1, Exs. A and B). This action was filed because allegedly
“Cosby was wrongfully convicted of a felony DUI in October 2013
and he served five years in prison.” (ECF No. 1, § 1). According
to the Complaint, the wrongful conviction was a result of the
conduct, inter alia, of Hoyle and Godsey and the policies and
practices of the Town of Farmville and the Farmville Police
Department. (ECF No. 1, 44 3, 4). Following his conviction, Cosby
was imprisoned in Virginia’s jails and prisons from October 4,
2013 until his release on May 21, 2018. (ECF No. 1, 4 8).

The unusual circumstances giving rise to Cosby’s claims are
alleged to have begun in early October 2012 when Cosby was involved
in a romantic relationship with Janette Fisher who, at the time
also was allegedly involved in a romantic relationship with an
unidentified law enforcement officer employed by the Farmville
Police Department. (ECF No. 1, 9§ 36-39). On October 10, 2012,

Godsey and Hoyle, along with two other unidentified officers, are

 

3 AS appropriate under the applicable standard for assessing
motions brought under Rule 12(b)(6), the facts are stated as

alleged in the Complaint and in the documents that are attached
thereto.
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said to have approached Cosby; and Fisher and Godsey is said to
have “orally instructed Cosby to leave Ms. Fisher alone.” (ECF
No. 1, § 40).

The Complaint alleges that this warning was issued pursuant
to a “custom or policy” of the Farmville Police Department “to
harass, threaten, and punish individuals who engage in a romantic
or sexual relationship with a third party” who is also “engaged
in” such a relationship “with a fellow [Farmville] Police
Department officer.” (ECF No. 1, § 42). It is also asserted that
the purpose of the alleged acts was “to retaliate against such
conduct by third parties and to deter them.” (ECF No. 1, 4 43) .4

The rather strange saga resumes on the evening of October 24,
2012 when Cosby and Fisher attended a party together in Cumberland
County, Virginia. (ECF No. 1, JF 36, 45). It is alleged that,
while attending the party, Fisher saw a text from another woman on
Cosby’s telephone and became upset. Around 10:00 p.m., Fisher and
Cosby left the party, got into a Nissan Armanda (owned by Cosby’s
brother), and started to drive toward Fisher’s residence. It is
asserted that Cosby was, at the time, in the passenger seat and

that Fisher was driving.

 

4 The Complaint is devoid of any facts about the alleged “custom
or policy” or any other application of it.
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As the car neared the intersection of River Road and North
Main Street, Fisher slowed the car, abruptly exited from it, ran
toward the Appomattox River bridge, and appeared to jump over the
railing of the bridge. (ECF No. 1, 4 36-53). According to the
Complaint, Cosby then got into the driver’s seat of the vehicle,
moved it from the middle of the road, and parked it in a gravel
area near the bridge. (ECF No. 1, § 55). And it is this conduct,
the moving of the Nissan Armada, that is the source of driving
offenses (DUI and driving on a suspended license) on which he was
arrested and which led to his conviction. According to Cosby, he
had nothing to drink before he engaged in this conduct.

It is alleged that, at approximately 10:13 p.m. (13 minutes
after Cosby and Fisher left the party), the dispatcher for
Farmville Police Department directed officers to respond to the

Appomattox River Bridge area because a domestic incident was afoot.

Godsey was the first officer on the scene. (ECF No. 1, Ex. A).
He was joined by Hoyle very shortly thereafter. (ECF No. 1, Ex.
E, p. 4).

It appears from the Complaint that some credence was given to
Cosby’s statement that Fisher may have jumped from the Appomattox
River bridge because not long after arriving at the scene, Godsey
departed in his patrol car to determine whether Fisher was with a

friend who lived nearby, while Hoyle, Cosby and others searched

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for Fisher. Very shortly thereafter, however, Fisher was located
nearby. By then, Cosby had returned to the Nissan Armada that
previously he had driven and parked. Godsey says that he then
took a drink of whiskey from a bottle in the Nissan Armada.

When Cosby saw that Fisher seemed to be uninjured, it is
alleged that he attempted to leave the scene but was stopped by
Godsey because Cosby smelled of alcohol. (ECF No. 1, Ex. A).
Godsey thereafter administered field sobriety tests to Cosby.
After Cosby had failed those tests, he was arrested and transported
to the Farmville Police Department where he was given a
breathalyzer test which revealed that his blood alcohol content
was 0.137. (ECF No. 1, Exs. A and B). Cosby was arrested on a
Class VI felony because this was his third DUI offense within five
years.

In September 2013, the state court held a suppression hearing
in which it is alleged that Godsey and Hoyle lied about whether
Cosby was under the influence of alcohol and whether there existed
video recordings (made by dashboard cameras [“dash cams”]) of the
events surrounding Cosby’s arrest. (ECF No. 1, 4§ 106, 107). The
motion to suppress was denied and, on October 4, 2013, Cosby was
tried by a jury and convicted of the felony DUI charge. It is
alleged that the lies by Godsey and Hoyle produced Cosby's

conviction. It appears from the Complaint that the alleged

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untruths were challenged at trial by Cosby’s counsel but,
nevertheless, the jury convicted Cosby and sentenced him to five
years of imprisonment.

While serving his sentence, Cosby filed a petition for a writ
of habeas corpus in the state court which, after a hearing, was
denied. It thus appears from the Complaint that Cosby’s
conviction and sentence have been validated by the appellate
process and have not been set aside.

At the core of the Complaint, and of each of its individual
counts, are Cosby’s contentions that: (1) Hoyle had a dash cam
that recorded Cosby’s arrest by Godsey on the evening of October
24, 2012; and (2) in the suppression hearing and at trial, Hoyle
and the others lied about the availability of that video recording,
which would have proved his innocence.

According to the Complaint, the next event in this story took
place on May 20, 2019, after Cosby had been released from prison.
On that day, Cosby taped an oral conversation between him and Hoyle
in which there was discussion of Cosby’s arrest by Godsey on
October 24, 2012. (ECF No. 1, Ex. E). It is alleged that, during
that conversation, Hoyle admitted that a dash cam video had, in
fact, been made of the October 24, 2012 arrest of Cosby by Godsey;
and that Hoyle and Godsey (and the unknown officers) knew that the

video recording existed. The Complaint alleges that the video

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tended to substantiate Cosby’s account of the facts and tended to
show that the statement made by Godsey in the incident report was
false, but the Complaint does not explain how that was so. (ECF
No. 1, 9G 94, 95). The transcribed record of the conversation
between Cosby and Hoyle on May 20, 2019 is Exhibit E to the
Complaint.

Notwithstanding the contrary allegations in the text of the
Complaint, the text of Exhibit E does not support the allegation
that, on May 20, 2019, Hoyle “admitted that a dash cam video had,
in fact, been made of the October 24, 2012 encounter between the
Defendant Officers and Cosby.” To the contrary, as to the subject
of video recordings from dash cams in the police cars, the
transcript shows that Hoyle actually explained that Godsey did not
have video capacity (dash cam) in his patrol car on the evening in
question, and that, as to the car that Hoyle was driving on that
evening, Hoyle actually says that “I did not activate my emergency
lights on your DUI stop and I should have clarified that more in
writing. I didn’t. So I wasn’t there, okay?” (ECF No. 1, Ex.
E, p. 7).

Hoyle also makes clear that, when he first arrived at the

bridge to help look for Fisher (which was well before Godsey

arrested Cosby), he had turned on the lights in his car for ‘a

split second.” (Id.) He repeated that statement again on page

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10. Further, Hoyle states that he did not know if briefly
activating his lights had activated the dash cam or not. (ECF No.
1, Ex. E, p. 12). More importantly, Hoyle makes clear that, even

if the dash cam had been activated when he turned his lights on
for that brief instant following his arrival at the bridge, and,
if it had been on at the scene of the DUI arrest, there would be
no video recording of the arrest. That, Hoyle explains, is because
“where I was parked, the way I’m parked, all it would have given
you was the side panel of what’s the name of that place, the kayak
place.” (ECF No. 1, Ex. E pp. 13-14). Holye amplifies that by
saying “none of that, if it recorded, it just recorded the side of
that building.” (ECF No. 1, Ex. E, p. 14). Further, Holye
underscores that, while he did activate his lights briefly when he
first arrived at the bridge to look for Fisher, he did not activate
them at the scene of the DUI arrest “because I wasn’t there [at
the scene of the DUI arrest] .” (ECF No. 1, Ex. E, p. 16). All
of this information is part of Cosby’s Complaint because it is in
Exhibit E which is referred to and attached to the Complaint.
This, then, is the background against which the motion to

dismiss must be considered.
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DISCUSSION

A. The Standard Governing Fed. R. Civ. P. 12(b) (6): Failure to
State a Claim

A motion to dismiss pursuant to Fed. R. Civ. P. 12(b) (6)

“tests the sufficiency of a complaint.” Columbia v. Haley, 738

 

F.3d 107, 116 (4th Cir. 2013). To survive a motion to dismiss,
the factual allegations set forth in the complaint must be
sufficient to “‘to raise a right to relief above the speculative
level’ and ‘state a claim to relief that is plausible on its
face.’" Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
555 (2007)). “A claim is ‘plausible on its face,’ if a plaintiff
can demonstrate more than ‘a sheer possibility that a defendant
has acted unlawfully.’” Rockville Cars, LLC v. City of Rockville,

891 F.3d 141, 145 (4th Cir. 2018) (quoting Ashcroft v. Iqbal, 556

 

U.S. 662, 678 (2009)). Nevertheless, “[a] complaint should not
be dismissed pursuant to Rule 12(b) (6) . . . unless it appears to
a certainty that the nonmoving party cannot prove any set of facts
in support of its claim that would entitle it to relief.” Chapman
v. Clarendon Nat’l Ins., 299 F. Supp.2d 559, 562 (E.D. Va. 2004).

When considering a motion to dismiss under Fed. R. Civ. P.
12(b) (6), a court “must accept the factual allegations of the
complaint as true and construe them in the light most favorable to

the nonmoving party.” Rockville Cars, 891 F.3d at 145. However,

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courts need not “accept as true a legal conclusion couched as a

factual allegation.” S$D3, LLC v. Black & Decker (U.S.) Inc., 801

 

F.3d 412, 422 (4th Cir. 2015) (quoting Anand v. Ocwen Loan

 

Servicing, LLC, 754 F.3d 195, 198 (4th Cir. 2014)). And,
“[t]hreadbare recitals of the elements of a cause of action,
supported by mere conclusory statements, do not suffice.” Igbal,
556 U.S. at 678.

Although a court’s review is generally limited to the
allegations in the complaint, where a copy of a written instrument
is attached as an exhibit to the complaint or incorporated therein
by reference, the instrument is part of the complaint and a court
may consider it. Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159,
166 (4th Cir. 2016); see also Fed. R. Civ. P. 10(c) (“A statement
in a pleading may be adopted by reference elsewhere in the same
pleading or in any other pleading or motion. A copy of a written
instrument that is an exhibit to a pleading is a part of the
pleading for all purposes.”).

These legal precepts inform the analysis of the pending
motion.

B. The Claims Under 42 U.S.C. § 1983: Statute of Limitation

Cosby’s FIRST through NINTH CAUSES OF ACTION (which, for the
sake of simplicity, will be referred to hereafter by using Arabic

numbers and the appellation “Count” (e.g. Count 1)) purport to

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assert claims said to arise under the United States Constitution
and brought in federal court under 42 U.S.C. § 1983.5 Hoyle and
Godsey moved to dismiss each of those counts because, as alleged
in the Complaint and the exhibits, those Section 1983 claims all
are barred by the statute of limitations.

It is now settled that claims brought by virtue of § 1983 are
governed by state statute of limitations applicable for general
personal injury cases. Owens v. Okure, 488 U.S. 235, 239-40
(1989). Virginia has a two-year statute of limitations for such
claims. Va. Code Ann. § 8.01-243(A). Therefore, the applicable
limitations period for § 1983 violations occurring in Virginia is

two years. Houghton v. Com. of Va., 947 F.2d 941 (4th Cir. 1991);

 

Richards v. Muse, No. 1:13c¢cv1472, 2015 WL 853886, *3 (E.D. Va.

 

2015).

Also, it is settled that, while state law supplies the
limitation period for Section 1983 claims, federal law supplies
the rule of decision for when a particular claim accrues. Cox v.
Stanton, 529 F.2d 47, 50 (4th Cir. 1975). And, under federal law
it is settled that “a cause of action accrues when the plaintiff

possesses sufficient facts about the harm done to him that

 

5 Section 1983, of course, “‘is not itself a source of substantive
rights,’ but merely provides ‘a method for vindicating federal
rights elsewhere conferred.’” Albright v. Oliver, 114 S. Ct. 807,

 

811 (1994) (citing Baker v. McCollan, 443 U.S. 137, 144 n.3 (1979).
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reasonable inquiry will reveal his cause of action.” Nasim v.
Warden, Maryland House of Correction, 64 F.3d 951, 955 (4th Cir.

1995) (citing United States v. Kubrick, 444 U.S. 111, 122-24

 

(1979)). In other words, when a plaintiff has information
regarding the fact of injury and who effected it, the principle of

inquiry notice requires the plaintiff to undertake an

investigation as to the details of his claims. The failure to
satisfy that obligation dooms his claim. Indeed, as the Fourth
Circuit put the matter in Nasim, “postponing the accrual of

[plaintiff's claim after being on notice] would undermine the
purpose of limitations statute.” Id. (citing and quoting Kubrick
at 122-24).

An examination of the Complaint and the exhibits attached
thereto, demonstrate that, at least by the time Cosby’s trial was
over in October 2013, Cosby was aware of virtually all the facts
on which he bases the 1983 claims in Counts 1 through 9. In
particular, by then, Cosby knew that, at the suppression hearing
and the trial, the officers had testified about the absence of,
dash cam evidence. And, Cosby knew that a subpoena duces tecum
had been issued for dash cam evidence before his trial, and that

he had received a response that there was no such video recording
and that response was confirmed by Hoyle. (ECF No. 1, Exs. C and

D). However, the Complaint also states that, on the evening in

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question, October 24, 2012, Cosby had seen the lights in Hoyle’s
car activate and that blinking lights signaled that the dash cam
was on and that a video of the encounter was being taken. (ECF
No. 1, FF 68-70). It also is obvious that, before his trial,
Cosby had access to the Incident Report (that he claims was false
respecting whether he was driving the Nissan Armada) as well as
the allegedly false Criminal Complaint made on October 24. (ECF
No. 1, 4 85-86). Taken as a whole, the Complaint shows that, at
least, by the end of his trial in October 2013, Cosby was on
inquiry notice of the facts on which he bases Counts 1 through 9.

Cosby seeks to avoid the bar of the statute of limitations by
asserting that, on May 20, 2019 when he taped his conversation
with Hoyle, he secured evidence that a video dash cam recording
did exist. That theory fails for the simple reason that the
transcript proves that Hoyle activated the lights briefly on his
car only at the commencement of the effort to locate Fisher earlier
in the evening when he arrived at the bridge, not at the later
time when Godsey arrested Cosby. Moreover, the transcript shows
that Hoyle said that he was not even present at the time Godsey
arrested Cosby. Nothing in the pleadings or the exhibit refutes

that. And, even if Hoyle had activated the dash cam, the record
establishes that it would have recorded the side of a building,

not Cosby’s arrest.

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In sum, Exhibit E, which Cosby chose to make part of his
Complaint, eliminates the notion that Cosby was not first on notice
of his claims until May 20, 2019 (a date that is within the
statutory two-year period). Indeed, Exhibit E renders it
implausible that Cosby discovered anything on May 20, 2019 that
would save Counts 1 through 9 from the bar of the statute of
limitations.

At the very least, the transcript shows that Cosby received
the papers supporting his theories “a year before I was getting
ready to come home.” (ECF No. 1, Ex. E, p. 9, lines 1-2). Cosby
was released from prison on May 21, 2018 (ECF No. 1, 4 8) which
means that, as early as May 2017 (a year before he came home),
Cosby had the papers that he says support the claims that he
asserts in Counts 1 through 9.

Cosby is bound by what is in his Complaint, including exhibits
he attached to it and on which he relied in it. True, Cosby is
entitled to all reasonable inferences at this stage of the
proceedings. Here, however, the Complaint, the exhibit, and the
reasonable inferences necessitate the conclusion that the § 1983
claims are barred by the applicable statute of limitations and

thus Counts 1 through 9 will be dismissed with prejudice.

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Cc. The Defendants’ Heck v. Humphrey Arguments

Hoyle and Godsey also contend that this suit is collateral
attack on Cosby’s conviction and hence barred under the rule of
Heck v. Humphrey, 512 U.S. 477 (1994). It is unnecessary to reach
that question given the ruling on the statute of limitations and
the Court does not address it.
D. Official Capacity Claims Against Hoyle and Godsey

Hoyle and Godsey also say that the official capacity claims

against them must be dismissed as redundant of the claims brought
against the Town of Farmville and the Farmville Police Department.
And, indeed, it is settled that a claim brought against a public
official in his official capacity is treated as an action against
the public employer. Hafer v. Melo, 502 U.S. 21, 25 (1991);
Kentucky v. Graham, 473 U.S. 159, 165 (1985). Accordingly, under
circuit precedent, it is appropriate to dismiss the official
capacity claims against Hoyle and Godsey as redundant of the claims
against the Town of Farmville and the Farmville Police Department.
Love-Lane v. Martin, 355 F.3d 766, 783 (4th Cir. 2004); Mainstream

Loudon v. Board of Trustees of Loudoun County Library, 2 F. Supp.2d

783, 790 (E.D. Va. 1988).

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E. The Conspiracy Claim/the Intracorporate Conspiracy Doctrine
In Count 4, Cosby purports to advance a claim for conspiracy
to violate his constitutional rights. According to Hoyle and
Godsey, that claim fails as a matter of law under the so-called
Intracorporate Conspiracy Doctrine. Again, the officers are
correct. The United States Court of Appeals for the Fourth Circuit
has applied that doctrine to claims of conspiracy brought pursuant

to 42 U.S.C. §§ 1983 and 1985. See Buschi v. Kirven, 775 F.2d

 

1240, 1252-53 (4th Cir. 1985). All of the alleged conspirators
are said to be members of the Farmville Police Department.
Accordingly, the Intracorporate Conspiracy Doctrine applies and
operates as a complete bar to Count 4.
F. The Asserted Monell Claims

Cosby presents two claims under the doctrine of Monell v.
Department of Social Services of the City of New York, 436 U.S.
658 (1973). In Count 6, Cosby asserts that the Town of Farmville
and the Farmville Police Department had a policy of encouraging
“unconstitutional behavior and procedures toward Farmville-area
residents who have a prior criminal record, and/or individuals who
engage in a romantic or sexual relationship with a third party in
situations wherein the third party is or was also engaged ina
romantic or sexual relationship with a Police Department officer,

and/or Farmville-area residents and students who were susceptible

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to false charges of DUI or public drunkenness which represented
the custom, policy, and/or practice of the Town and/or Police
Department, such that Cosby’s constitutional deprivations alleged
herein were in furtherance of the custom, policy, and/or practice
of the Town and/or Police Department. (ECF No. 1, § 212). In
Count 7, Cosby alleges a claim for unconstitutional and inadequate
training and supervision. In essence, the charge is that the Town
and/or Police Department failed to properly teach the storing of
evidence, the retention of evidence, and the turning over of
exculpatory evidence. (ECF No. 1, ¢ 221).

To begin, the Monell claims are alleged in a conclusory
fashion that simply do not pass the rules of pleading established
in Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell Atlantic v.
Twombly, 550 U.S. 544 (2007). Rather they are generally stated,
broad and conclusory statements unsupported by any factual
presentation whatsoever. Counts 6 and 7 fail for that reason
alone.

Moreover, in neither Count 6 nor Count 7 does the Complaint
provide any facts permitting an inference that these allegedly
pervasive customs, policies, and practices were implemented other

than on one occasion. And, it is clear beyond question that, as
a matter of law, the isolated incident cited by Cosby cannot serve

as the basis for a pattern and policy practice claim under Monell.

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Lytle v. Doyle, 326 F.3d 463, 473 (4th Cir. 2003); Kopf v. Wing,
942 F.2d 265, 69 (4th Cir. 1991). Accordingly, Counts 6 and 7
fail for that additional reason.

G. The State Law Claims

In Counts 10 through 16, Cosby asserts alleged violations of
state law. The Court declines to exercise jurisdiction over those
state law claims under 28 U.S.C. § 1367 because it has dismissed
all claims over which it might have had jurisdiction.

It is true that, in Counts 10 and 11, Cosby talismanically
asserts that he has been denied rights guaranteed by both the
Fourteenth Amendment of the federal Constitution and the
Constitution of Virginia. However, both counts are stated,
insofar as the Fourteenth Amendment is concerned, in conclusory
terms and in ways that refer to, and rely on, state law duties,
and the talismanic mention of the Fourteenth Amendment in Counts

10 and 11 does not pass pleading muster under Twombly and Igbal.

CONCLUSION
For the foregoing reasons, Counts 1 through 9 (the FIRST
through NINTH CAUSES OF ACTION) against the Town of Farmville, the
Farmville Police Department, Officer Hoyle and Officer Godsey will
be dismissed with prejudice. Because the Court has declined to

exercise jurisdiction over Counts 10 through 16 (the TENTH through

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SIXTEENTH CAUSES OF ACTION) under 28 U.S.C. § 1367, those counts
will be dismissed without prejudice. The MOTION TO DISMISS (ECF
No. 9) will be granted.

It is so ORDERED.

 

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Robert E. Payne

Senior United States District Judge

Richmond, Virging~
Date: August »*%, 2021

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